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                                    United States Bankruptcy Court                         Voluntary Petition
                                     Eastern District of Arkansas

 Name of Debtor (if individual, enter Last, First, Middle):                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Madison, Mark, C.
 All Other Names used by the Debtor in the last 8 years                                     All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                (include married, maiden, and trade names):
  Madison Financial Services
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more
than one, state all):     7149                                                               than one, state all):
 Street Address of Debtor (No. & Street, City, and State):                                   Street Address of Joint Debtor (No. & Street, City, and State):
   5 Noyal Drive
   Little Rock, AR
                                                            ZIP CODE        72223                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                 County of Residence or of the Principal Place of Business:
  Pulaski
 Mailing Address of Debtor (if different from street address):                              Mailing Address of Joint Debtor (if different from street address):

                                                            ZIP CODE                                                                                       ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                       Nature of Business                                 Chapter of Bankruptcy Code Under Which
                   (Form of Organization)                       (Check one box)                                                  the Petition is Filed (Check one box)
                      (Check one box.)
                                                                 Health Care Business                             
                                                                                                                        Chapter 7                       Chapter 15 Petition for
 
      Individual (includes Joint Debtors)                       Single Asset Real Estate as defined in                Chapter 9                        Recognition of a Foreign
       See Exhibit D on page 2 of this form.                        11 U.S.C. § 101(51B)                                                                  Main Proceeding
      Corporation (includes LLC and LLP)                        Railroad                                              Chapter 11
                                                                 Stockbroker                                                                           Chapter 15 Petition for
      Partnership                                                                                                       Chapter 12                       Recognition of a Foreign
      Other (If debtor is not one of the above entities,        Commodity Broker                                                                        Nonmain Proceeding
                                                                                                                        Chapter 13
       check this box and state type of entity below.)           Clearing Bank
                                                                                                                                             Nature of Debts
       _____________________                                     Other                                                                       (Check one box)
                                                                           Tax-Exempt Entity                            Debts are primarily consumer        
                                                                                                                                                                  Debts are primarily
                                                                         (Check box, if applicable)                      debts, defined in 11 U.S.C.               business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                   Debtor is a tax-exempt organization                  individual primarily for a
                                                                    under Title 26 of the United States                  personal, family, or house-
                                                                    Code (the Internal Revenue Code.)                    hold purpose.”
                                 Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                 Check one box:
 
     Full Filing Fee attached
                                                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

  Filing Fee to be paid in installments (applicable to individuals only). Must attach                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
   signed application for the court's consideration certifying that the debtor is                Check if:
   unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                          insiders or affiliates) are less than $2,343,300 ( amount subject to adjustment on
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        4/01/13 and every three years thereafter ).
      attach signed application for the court's consideration. See Official Form 3B.             Check all applicable boxes
                                                                                                         A plan is being filed with this petition
                                                                                                         Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                          of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                               THIS SPACE IS FOR
                                                                                                                                                                      COURT USE ONLY
     Debtor estimates that funds will be available for distribution to unsecured creditors.
 
     Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 
                                                                                                            
 1-          50-          100-         200-       1,000-        5,001-     10,001-     25,001-        50,001-       Over
 49          99           199          999        5,000         10,000     25,000      50,000         100,000       100,000
 Estimated Assets
                       
                                                                                                                               
 $0 to   $50,001 to      $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than
 $50,000 $100,000        $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    $1 billion
                                         million     million    million     million     million
 Estimated Liabilities
                                                   
                                                                                                                                 
 $0 to   $50,001 to      $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                     $500,000,001     More than
 $50,000 $100,000        $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                     to $1 billion    $1 billion
                                         million     million    million     million     million
              4:11-bk-13328
B1 (Official Form 1) (4/10)                      Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 2 ofFORM
                                                                                                              48 B1, Page 2
Voluntary Petition                                                                              Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                Mark C. Madison
                                         All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                       Case Number:                                             Date Filed:
 Where Filed:          NONE
 Location                                                                                       Case Number:                                            Date Filed:
 Where Filed:
                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                Case Number:                                            Date Filed:
 NONE
 District:                                                                                      Relationship:                                            Judge:


                                          Exhibit A                                                                                    Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                   (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                       whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                available under each such chapter. I further certify that I have delivered to the
                                                                                                debtor the notice required by 11 U.S.C. § 342(b).
      Exhibit A is attached and made a part of this petition.                                     X Not Applicable
                                                                                                      Signature of Attorney for Debtor(s)                     Date

                                                                                          Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
  Yes, and Exhibit C is attached and made a part of this petition.
 
      No

                                                                                         Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

   
            Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                       Information Regarding the Debtor - Venue
                                                                                  (Check any applicable box)
                 
                         Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.


                         There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                         Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                              Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                      (Check all applicable boxes.)

                         Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                              (Name of landlord that obtained judgment)


                                                                                              (Address of landlord)
                         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


                         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                         Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (4/10)                    Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 3 ofFORM
                                                                                                            48 B1, Page 3
Voluntary Petition                                                                            Name of Debtor(s):
  (This page must be completed and filed in every case)                                       Mark C. Madison

                                                                                   Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I            I request relief in accordance with chapter 15 of Title 11, United States Code.
                                                                                                    Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                   Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Mark C. Madison                                                                       X Not Applicable
       Signature of Debtor       Mark C. Madison                                                  (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       5/19/2011                                                                                  Date
       Date
                                  Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /S/ Doug Lickert                                                                          I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
     Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
                                                                                              the debtor with a copy of this document and the notices and information required under
     Doug Lickert Bar No. 2003013
                                                                                              11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
     Printed Name of Attorney for Debtor(s) / Bar No.                                         promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                                              chargeable by bankruptcy petition preparers, I have given the debtor notice of the
      Lickert Law Firm, P.A.                                                                  maximum amount before preparing any document for filing for a debtor or accepting any
                                                                                              fee from the debtor, as required in that section. Official Form 19 is attached.
     Firm Name
      5321 JFK Blvd., Ste. A North Little Rock, AR 72116
     Address                                                                                      Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer


      (501) 771-1817                                   (501) 771-1821
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                            state the Social-Security number of the officer, principal, responsible person or
      5/19/2011                                                                                   partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                 Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the              Date
 debtor.                                                                                          Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                  partner whose Social-Security number is provided above.
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                                 Names and Social-Security numbers of all other individuals who prepared or
                                                                                                  assisted in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                 individual.
     Signature of Authorized Individual                                                           If more than one person prepared this document, attach to the appropriate official
                                                                                                  form for each person.
     Printed Name of Authorized Individual                                                        A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                  the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                  both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
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B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Arkansas


         In re   Mark C. Madison                                                    Case No.
                           Debtor                                                                      (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit counseling
listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any
case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors will be able to
resume collection activities against you. If your case is dismissed and you file another bankruptcy case later,
you may be required to pay a second filing fee and you may have to take extra steps to stop creditors'
collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

          
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate from
the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt repayment
plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a certificate
from the agency describing the services provided to me. You must file a copy of a certificate from the agency
describing the services provided to you and a copy of any debt repayment plan developed through the agency no
later than 14 days after your bankruptcy case is filed.


           3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Summarize
exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the agency
that provided the counseling, together with a copy of any debt management plan developed through the
agency. Failure to fulfill these requirements may result in dismissal of your case. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.

         4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
        deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);

                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor:   s/ Mark C. Madison
                       Mark C. Madison

Date: 5/19/2011
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B6A (Official Form 6A) (12/07)

In re:   Mark C. Madison                                                                                       Case No.
                                                              ,
                                                                                                                                           (If known)
                                        Debtor



                                   SCHEDULE A - REAL PROPERTY




                                                                           HUSBAND, WIFE, JOINT
                                                                                                               CURRENT VALUE
                                                                                                                OF DEBTOR'S




                                                                              OR COMMUNITY
                                                                                                                 INTEREST IN
               DESCRIPTION AND                                                                               PROPERTY, WITHOUT                    AMOUNT OF
                 LOCATION OF                 NATURE OF DEBTOR'S                                                DEDUCTING ANY
                                            INTEREST IN PROPERTY                                                                                   SECURED
                  PROPERTY                                                                                    SECURED CLAIM
                                                                                                                                                    CLAIM
                                                                                                                OR EXEMPTION




 3,936 square foot home located at 5   Fee Owner                                                                        $ 400,000.00                $ 673,819.00
 Noyal Drive, Little Rock, AR


                                                                   Total                             $ 400,000.00
                                                                                                  (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)

In re   Mark C. Madison                                                                ,              Case No.
                                                                  Debtor                                                                (If known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF




                                                                                                                   OR COMMUNITY
                                                                                                                                         DEBTOR'S INTEREST
                                                                                                                                         IN PROPERTY, WITH-


                                                    NONE
                                                                           DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                     OF PROPERTY                                               SECURED CLAIM
                                                                                                                                            OR EXEMPTION




  1. Cash on hand                                          Cash                                                                                       300.00
  2. Checking, savings or other financial           X
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
  3. Security deposits with public utilities,       X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                      Bedroom suit, bedroom furniture, living room              J                               2,000.00
     including audio, video, and computer
     equipment.                                            furniture, 2 TVs, washer, dryer, laptop computer,
                                                           and other misc. household goods
  5. Books, pictures and other art objects,                Books, pictures                                                                            100.00
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                      Wearing apparel                                                                            500.00
  7. Furs and jewelry.                                     Gold wedding ring                                                                          200.00
  8. Firearms and sports, photographic, and                Golf clubs                                                                                 250.00
     other hobby equipment.
  9. Interests in insurance policies. Name          X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each               X
     issuer.
 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint ventures.   X
     Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
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B6B (Official Form 6B) (12/07) -- Cont.

In re   Mark C. Madison                                                                ,             Case No.
                                                                Debtor                                                                     (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                            CURRENT VALUE OF




                                                                                                                      OR COMMUNITY
                                                                                                                                            DEBTOR'S INTEREST
                                                                                                                                            IN PROPERTY, WITH-


                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                    OF PROPERTY                                                   SECURED CLAIM
                                                                                                                                               OR EXEMPTION




 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated claims       X
     of every nature, including tax refunds,
     counterclaims of the debtor, and rights to
     setoff claims. Give estimated value of
     each.
 22. Patents, copyrights, and other intellectual    X
     property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              2010 Nissan Sentra - 15,500 miles                                                             13,000.00
     vehicles and accessories.
 26. Boats, motors, and accessories.                X
 27. Aircraft and accessories.                      X
 28. Office equipment, furnishings, and             X
     supplies.
 29. Machinery, fixtures, equipment and             X
     supplies used in business.
 30. Inventory.                                     X
 31. Animals.                                       X
 32. Crops - growing or harvested. Give             X
     particulars.
 33. Farming equipment and implements.              X
 34. Farm supplies, chemicals, and feed.            X
 35. Other personal property of any kind not               Wrenches, screwdrivers                                                                            50.00
     already listed. Itemize.

                                                           1                                                                    
                                                               continuation sheets attached                 Total                                       $ 16,400.00

                                                                                                                (Include amounts from any continuation sheets
                                                                                                                attached. Report total also on Summary of
                                                                                                                Schedules.)
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B6C (Official Form 6C) (4/10)


In re    Mark C. Madison                                                                             Case No.
                                                                                          ,
                                                                                                                             (If known)
                                                           Debtor



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                              $146,450.*

11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)

                                                                                               VALUE OF                     CURRENT
                                                        SPECIFY LAW
                                                                                               CLAIMED                 VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                        PROVIDING EACH
                                                                                              EXEMPTION                WITHOUT DEDUCTING
                                                         EXEMPTION
                                                                                                                           EXEMPTION


Bedroom suit, bedroom                     11 USC § 522(d)(3)                                       2,000.00                               2,000.00
furniture, living room furniture,
2 TVs, washer, dryer, laptop
computer, and other misc.
household goods
Books, pictures                           11 USC § 522(d)(5)                                        100.00                                 100.00

Cash                                      11 USC § 522(d)(5)                                        300.00                                 300.00

Gold wedding ring                         11 USC § 522(d)(4)                                        200.00                                 200.00

Golf clubs                                11 USC § 522(d)(5)                                        250.00                                 250.00

Wearing apparel                           11 USC § 522(d)(3)                                        500.00                                 500.00

Wrenches, screwdrivers                    11 USC § 522(d)(5)                                          50.00                                 50.00


* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)


 In re   Mark C. Madison                                                                                     ,
                                                                                                                        Case No.
                                                                                                                                                                         (If known)
                                                        Debtor


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                    HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                     DATE CLAIM WAS                                                    AMOUNT OF
                                                                                                                                                                                                     UNSECURED




                                                                                                                                            UNLIQUIDATED
                                                                      OR COMMUNITY
                 MAILING ADDRESS                                                                     INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                               CONTINGENT
                                                         CODEBTOR
                                                                                                                                                                                                     PORTION, IF




                                                                                                                                                           DISPUTED
             INCLUDING ZIP CODE AND                                                                     OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                      DESCRIPTION AND                                                      VALUE OF                     ANY
              (See Instructions, Above.)                                                            VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                      SUBJECT TO LIEN


ACCOUNT NO.                                                                                                                                                                       11,789.37              11,789.37
                                                                                           Judgment Lien
Chenal Country Club, Inc.
                                                                                           Judgment lien against home
7 Chenal Club Blvd.
                                                                                           located at 5 Noyal Drive, Little
Little Rock, AR 72223
                                                                                           Rock, AR
                                                                                           __________________________
                                                                                           VALUE $400,000.00
 Chenal Country Club, Inc.
 c/o John B. Buzbee
 Nixon & Light
 320 Executive Court, Suite 304
 Little Rock, AR 72205

 Chenal Country Club
 10 Chenal Club Blvd.
 Little Rock, AR 72223
ACCOUNT NO.                                                                                                                                                                     234,867.00                        0.00
                                                                                           Statutory Lien
Internal Revenue Service
                                                                                           Federal tax liens filed 5/09 and
P.O. Box 7346
                                                                                           7/08 for 2005, 2006, and 2007 tax
Philadelphia, PA 19101-7346
                                                                                           years. All real and personal
                                                                                           property of debtor.
                                                                                           __________________________
                                                                                           VALUE $416,400.00
ACCOUNT NO. 0001                                                                                                                                                                  15,689.00                2,689.00
                                                                                           Security Agreement
Nissan Motor Acceptance Corporation                                                        2010 Nissan Sentra - 15,500
P.O. Box 60117                                                                             miles
City of Industry, CA 91716-0117                                                            __________________________
                                                                                           VALUE $13,000.00




 1        continuation sheets
          attached
                                                                                           Subtotal 
                                                                                           (Total of this page)
                                                                                                                                                                        $       262,345.37 $             14,478.37



                                                                                           Total                                                                       $                        $
                                                                                           (Use only on last page)


                                                                                                                                                                      (Report also on Summary of (If applicable, report
                                                                                                                                                                      Schedules)                 also on Statistical
                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                 Liabilities and
                                                                                                                                                                                                 Related Data.)
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B6D (Official Form 6D) (12/07)- Cont.


 In re   Mark C. Madison                                                                         ,
                                                                                                            Case No.
                                                                                                                                                             (If known)
                                            Debtor


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                    (Continuation Sheet)




                                                        HUSBAND, WIFE, JOINT
                CREDITOR'S NAME AND                                                        DATE CLAIM WAS                                                    AMOUNT OF
                                                                                                                                                                                        UNSECURED




                                                                                                                                UNLIQUIDATED
                                                          OR COMMUNITY
                  MAILING ADDRESS                                                        INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                   CONTINGENT
                                             CODEBTOR
                                                                                                                                                                                        PORTION, IF




                                                                                                                                               DISPUTED
              INCLUDING ZIP CODE AND                                                        OF LIEN, AND                                                      DEDUCTING
                AN ACCOUNT NUMBER                                                         DESCRIPTION AND                                                      VALUE OF                    ANY
               (See Instructions, Above.)                                               VALUE OF PROPERTY                                                    COLLATERAL
                                                                                          SUBJECT TO LIEN


ACCOUNT NO. 2692                             X                                                                                                                      383,327.00                        0.00
                                                                               Mortgage
Select Portfolio Servicing, Inc.
                                                                               3,936 square foot home located
Attn: Bankruptcy Dept.
                                                                               at 5 Noyal Drive, Little Rock, AR
P.O. Box 65250
                                                                               __________________________
Salt Lake City, UT 84165
                                                                               VALUE $400,000.00

 U.S. Bank National Assn, Trustee
 c/o Robert S. Coleman, Jr. , PA
 1405 North Pierce, Suite 306
 Little Rock, AR 72207
ACCOUNT NO.                                                                                                                                                           13,918.00                       0.00
                                                                               Statutory Lien
State of Arkansas
                                                                               2007 state income taxes; Lien
Dept. of Finance & Administration
                                                                               filed 9/09. All real and personal
Collection Section
                                                                               property of debtor.
P.O. Box 8090
                                                                               __________________________
Little Rock, AR 72203
                                                                               VALUE $416,400.00
ACCOUNT NO.                                                                                                                                                           14,229.00              14,229.00
                                                                               Statutory Lien
State of Arkansas
                                                                               2006 state income taxes; lien
Dept. of Finance & Administration
                                                                               filed 9/09. All real and personal
Collection Section
                                                                               property of debtor.
P.O. Box 8090
                                                                               __________________________
Little Rock, AR 72203-8090
                                                                               VALUE $416,400.00




 Sheet no. 1 of 1 continuation                                                 Subtotal 
 sheets attached to Schedule of                                                (Total of this page)
                                                                                                                                                            $       411,474.00 $             14,229.00
 Creditors Holding Secured
 Claims

                                                                               Total                                                                       $       673,819.37 $             28,707.37
                                                                               (Use only on last page)


                                                                                                                                                          (Report also on Summary of (If applicable, report
                                                                                                                                                          Schedules)                 also on Statistical
                                                                                                                                                                                     Summary of Certain
                                                                                                                                                                                     Liabilities and
                                                                                                                                                                                     Related Data.)
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B6E (Official Form 6E) (4/10)

In re       Mark C. Madison                                                          ,                              Case No.
                                                              Debtor                                                                         (If known)


                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

 Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).



 Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).


 Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


 Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).



 Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


 Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


 Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


 Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


 Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                  1 continuation sheets attached
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B6E (Official Form 6E) (4/10) – Cont.


In re     Mark C. Madison                                                                                                                                                      Case No.
                                                                                                                      ,                                                                                  (If known)
                                                                         Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                     (Continuation Sheet)

                                                                   Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units




                                                                     HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                    DATE CLAIM WAS                                                               AMOUNT             AMOUNT           AMOUNT




                                                                       OR COMMUNITY




                                                                                                                                                    UNLIQUIDATED
                                                                                                                                       CONTINGENT
                                                        CODEBTOR
              MAILING ADDRESS                                                                     INCURRED AND                                                                OF CLAIM         ENTITLED TO          NOT




                                                                                                                                                                   DISPUTED
            INCLUDING ZIP CODE,                                                                  CONSIDERATION                                                                                  PRIORITY        ENTITLED TO
           AND ACCOUNT NUMBER                                                                       FOR CLAIM                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                                                                                ANY



 ACCOUNT NO.
                                                                                                                                                                                6,952.00           6,952.00           $0.00
                                                                                            2010 federal income
 Internal Revenue Service
                                                                                            taxes
 P.O. Box 7346
 Philadelphia, PA 19101-7346

 ACCOUNT NO.
                                                                                                                                                                                 919.51             919.51            $0.00
                                                                                            2009 personal property
 Pulaski County Treasurer
                                                                                            taxes
 Tax Collection Division
 201 South Broadway, Suite 150
 Little Rock, AR 72201




                                                                                                                                      Subtotals                      $        7,871.51 $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                              (Totals of this page)                                                    7,871.51 $           0.00
Creditors Holding Priority Claims


                                                                                                                                        Total 
                                                                                              (Use only on last page of the completed
                                                                                              Schedule E. Report also on the Summary of
                                                                                                                                                                     $         7,871.51
                                                                                              Schedules.)
                                                                                                                                        Total 
                                                                                              (Use only on last page of the completed                                                      $      7,871.51 $            0.00
                                                                                              Schedule E. If applicable, report also on the
                                                                                              Statistical Summary of Certain Liabilities and
                                                                                              Related Data. )
              4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 14 of 48
B6F (Official Form 6F) (12/07)

In re    Mark C. Madison                                                                                                          Case No.
                                                                                                          ,
                                                         Debtor                                                                                                        (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                  Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                     HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                                                               AMOUNT OF




                                                                       OR COMMUNITY




                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                          CONTINGENT
                 MAILING ADDRESS                                                                           INCURRED AND                                                                                  CLAIM




                                                          CODEBTOR




                                                                                                                                                                                            DISPUTED
               INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
              AND ACCOUNT NUMBER                                                                               CLAIM.
               (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE

ACCOUNT NO.                                                                                                                                                                                                7,650.00
 Access Brighter Futures                                                                    School tuition
 10618 Breckenridge
 Little Rock, AR 72211



ACCOUNT NO.                                                                                                                                                                                                8,147.00
 American Express                                                                           Business and consumer purchases
 P.O. Box 981537
 El Paso, TX 79998



ACCOUNT NO.                                                                                                                                                                                                  444.81
 Answerfone, Inc.                                                                           Business - Answering service
 610 Rock Street
 Little Rock, AR 72203



ACCOUNT NO.                                                                                                                                                                                                1,014.47
 AT&T                                                                                       Business telephone service
 c/o Franklin Collection Services
 P.O. Box 3910
 Tupelo, MS 38803-3910


ACCOUNT NO.        3675                                                                                                                                                                                      843.08
 AT&T                                                                                       Telephone service
 P.O. Box 5001
 Carol Stream, IL 60197-5001



               4    Continuation sheets attached

                                                                                                                                                         Subtotal                             $          18,099.36



                                                                                                                                                                                               $
                                                                                                                                                                Total                   

                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                             Summary of Certain Liabilities and Related Data.)
                4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 15 of 48
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark C. Madison                                                                                                                Case No.
                                                                                                                  ,
                                                                Debtor                                                                                                         (If known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                    CREDITOR'S NAME,                                                                              DATE CLAIM WAS                                                                               AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                  CONTINGENT
                    MAILING ADDRESS                                                                                INCURRED AND                                                                                  CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                           CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                    CLAIM.
                  (See instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

 ACCOUNT NO.                                                                                                                                                                                                       1,522.00
 Bank of America                                                                                    Business and personal purchases
 c/o Asset Acceptance, LLC
 P.O. Box 1630
 Warren, MI 48090-1630


 ACCOUNT NO.        1035                                                                                                                                                                                             117.44
 Bank of America                                                                                    Overdraft
 c/o ER Solutions, Inc.
 P.O. Box 9004
 Renton, WA 98057-9004


 ACCOUNT NO.                                                                                                                                                                                                         117.44
 Bank of America, NA                                                                                Overdraft
 c/o NCO Financial Systems
 P.O. Box 17080
 Wilmington, DE 19850-7080


 ACCOUNT NO.                                                                                                                                                                                                         200.00
 Bayonne Place Property Owners Assoc                                                                Neighborhood POA dues
 P.O. Box 242414
 Little Rock, AR 72223



 ACCOUNT NO.                                                                                                                                                                                                         775.00
 Brown, Rogers & Company, PA                                                                        Tax services
 1 Executive Center Drive, Suite 100
 Little Rock, AR 72211




Sheet no. 1 of 4 continuation sheets attached to Schedule of Creditors                                                                                           Subtotal                             $           2,731.88
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                       $
                                                                                                                                                                        Total                   

                                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 16 of 48
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark C. Madison                                                                                                                Case No.
                                                                                                                  ,
                                                                Debtor                                                                                                         (If known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                    CREDITOR'S NAME,                                                                              DATE CLAIM WAS                                                                               AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                  CONTINGENT
                    MAILING ADDRESS                                                                                INCURRED AND                                                                                  CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                           CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                    CLAIM.
                  (See instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

 ACCOUNT NO.                                                                                                                                                                                                       4,353.00
 Capital One Bank, USA, NA                                                                          Business and consumer purchases
 P.O. Box 30281
 Salt Lake City, UT 84130



 ACCOUNT NO.                                                                                                                                                                                                          64.93
 Chenal - 10 Storage                                                                                Storage
 24300 Chenal Parkway
 Little Rock, AR 72223



 ACCOUNT NO.                                                                                                                                                                                                         360.00
 Chenal Valley POA, Inc.                                                                            Country club POA dues
 7 Chenal Club Blvd.
 Little Rock, AR 72223



 ACCOUNT NO.        2823                                                                                                                                                                                             674.00
 Comcast Cable                                                                                      Cable service
 Collection Service, Inc.
 P.O. Box 7545
 Little Rock, AR 72217-7545


 ACCOUNT NO.                                                                                                                                                                                                         345.08
 Harvill-Byrd Electric Co., Inc.                                                                    Lighting service
 9015 Kanis Road
 Little Rock, AR 72205




Sheet no. 2 of 4 continuation sheets attached to Schedule of Creditors                                                                                           Subtotal                             $           5,797.01
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                       $
                                                                                                                                                                        Total                   

                                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 17 of 48
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark C. Madison                                                                                                                Case No.
                                                                                                                  ,
                                                                Debtor                                                                                                         (If known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                    CREDITOR'S NAME,                                                                              DATE CLAIM WAS                                                                               AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                  CONTINGENT
                    MAILING ADDRESS                                                                                INCURRED AND                                                                                  CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                           CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                    CLAIM.
                  (See instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

 ACCOUNT NO.                                                                                                                                                                                                       1,039.00
 Heights Toy Center, Inc.                                                                           Judgment
 5912 R. Street
 Little Rock, AR 72207



 ACCOUNT NO.                                                                                                                                                                                                         897.63
 Horticare and Associates, Inc.                                                                     Landscaping services
 P.O. Box 4307
 7901 Stagecoach Road
 Little Rock, AR 72214-4307


 ACCOUNT NO.                                                                                                                                                                                                          74.47
 Hospital Finance Corporation                                                                       Medical care
 P.O. Box 1166
 Little Rock, AR 72203



 ACCOUNT NO.                                                                                                                                                                                                         542.00
 Progressive Northwestern Insurance
 c/o Credit Collection Service
 P.O. Box 9134
 Needham, MA 02494-9134


 ACCOUNT NO.                                                                                                                                                                                                         720.00
 Proscapes                                                                                          Yard maintenance
 P.O. Box 26225
 Little Rock, AR 72221




Sheet no. 3 of 4 continuation sheets attached to Schedule of Creditors                                                                                           Subtotal                             $           3,273.10
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                       $
                                                                                                                                                                        Total                   

                                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Mark C. Madison                                                                                                                Case No.
                                                                                                                  ,
                                                                Debtor                                                                                                         (If known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                    CREDITOR'S NAME,                                                                              DATE CLAIM WAS                                                                               AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                  CONTINGENT
                    MAILING ADDRESS                                                                                INCURRED AND                                                                                  CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                           CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                    CLAIM.
                  (See instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

 ACCOUNT NO.                                                                                                                                                                                                         318.05
 Regions Bank                                                                                       Overdraft charges
 c/o NCO Financial Systems
 P.O. Box 15740
 Wilmington, DE 19850-5740


 ACCOUNT NO.                                                                                                                                                                                                        8,225.00
 Toyota Motor Credit Corp.                                                                          Balanced owed on a lease for a Lexus
 5005 N. River Blvd.
 Cedar Rapids, IA 52411-6634



 ACCOUNT NO.                                                                                                                                                                                                        2,700.00
 United States Attorney                                                                             Criminal fines
 Eastern District of Arkansas
 P.O. Box 1229
 Little Rock, AR 72203


 ACCOUNT NO.                                                                                                                                                                                                    1,212,457.72
 United States Attorney                                                                             Business - Restitution payable to 28
 Eastern District of Arkansas                                                                       victims pursuant to Plea Agreement
 P.O. Box 1229                                                                                      filed February 1, 2011, stemming from
 Little Rock, AR 72203                                                                              investment and wire fraud criminal
                                                                                                    indictment. Addresses of victims are
                                                                                                    unknown to debtor.
 ACCOUNT NO.                                                                                                                                                                                                         343.00
 Verizon Wireless
 P.O. Box 26055
 Minneapolis, MN 55426




Sheet no. 4 of 4 continuation sheets attached to Schedule of Creditors                                                                                           Subtotal                             $        1,224,043.77
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                       $         1,253,945.12
                                                                                                                                                                        Total                   

                                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
            4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 19 of 48
B6G (Official Form 6G) (12/07)


In re:   Mark C. Madison                                                            ,        Case No.
                                                       Debtor                                                    (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    
        Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                 DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
             OF OTHER PARTIES TO LEASE OR CONTRACT.                                     NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
          4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 20 of 48
B6H (Official Form 6H) (12/07)


In re: Mark C. Madison                                                     Case No.
                                                                ,                                 (If known)
                                                      Debtor


                                           SCHEDULE H - CODEBTORS
     
        Check this box if debtor has no codebtors.




                  NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR


   Tina Madison                                                Select Portfolio Servicing, Inc.
   5 Noyal Drive                                               Attn: Bankruptcy Dept.
   Little Rock, AR 72223                                       P.O. Box 65250
                                                               Salt Lake City, UT 84165
              4:11-bk-13328 Doc#: 1 Filed: 05/20/11 Entered: 05/20/11 12:30:27 Page 21 of 48
B6I (Official Form 6I) (12/07)

 In re     Mark C. Madison                                                       ,                  Case No.
                                                               Debtor                                                            (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:      Married
                                                RELATIONSHIP(S):                                                            AGE(S):
                                         Stepson                                                                                              13
                                         Son                                                                                                   5
 Employment:                                            DEBTOR                                                   SPOUSE
 Occupation                    Salesman                                                      Unemployed
 Name of Employer              Crain Automative
 How long employed             10.5 months
 Address of Employer           11701 Colonel Glenn Road
                               Little Rock, AR 72210
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                               DEBTOR                         SPOUSE


 1. Monthly gross wages, salary, and commissions                                               $                6,508.84 $                          0.00
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                  $                     0.00   $                       0.00

 3. SUBTOTAL                                                                                   $               6,508.84     $                       0.00
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                   $               1,012.79 $                          0.00
                                                                                                $                 354.64 $                          0.00
         b. Insurance
         c. Union dues                                                                          $                   0.00 $                          0.00
         d. Other (Specify)                                                                     $                    0.00 $                         0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                             $                1,367.43     $                      0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                            $                5,141.41     $                      0.00
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                           $                     0.00    $                      0.00
 8. Income from real property                                                                  $                     0.00    $                      0.00
 9. Interest and dividends                                                                     $                     0.00    $                      0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                         $                     0.00    $                      0.00
 11. Social security or other government assistance
 (Specify)                                                                                     $                     0.00    $                      0.00
 12. Pension or retirement income                                                              $                     0.00    $                      0.00
 13. Other monthly income
 (Specify)                                                                                     $                     0.00 $                         0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                            $                    0.00    $                       0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                              $                5,141.41 $                          0.00
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                              $ 5,141.41
 totals from line 15)
                                                                                          (Report also on Summary of Schedules and, if applicable, on
                                                                                           Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 Debtor's income will be reduced significantly within a few months, for he will be unemployed
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B6J (Official Form 6J) (12/07)

 In re Mark C. Madison                                                           ,                       Case No.
                                                        Debtor                                                               (If known)

               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed.
Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on
this form may differ from the deductions from income allowed on Form22A or 22C.
 
      Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                 $                  2,411.00
       a. Are real estate taxes included?        Yes                  No
       b. Is property insurance included?        Yes                  No
 2. Utilities: a. Electricity and heating fuel                                                                         $                    520.00
               b. Water and sewer                                                                                      $                    185.00
             c. Telephone                                                                                              $                    295.00
             d. Other                                                                                                  $                        0.00
3. Home maintenance (repairs and upkeep)                                                                               $                     50.00
4. Food                                                                                                                $                    800.00
5. Clothing                                                                                                            $                    100.00
6. Laundry and dry cleaning                                                                                            $                     50.00
7. Medical and dental expenses                                                                                         $                    300.00
8. Transportation (not including car payments)                                                                         $                    250.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                    $                    100.00
10. Charitable contributions                                                                                           $                      0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner’s or renter’s                                                                               $                      0.00
              b. Life                                                                                                  $                      0.00
              c. Health                                                                                                $                      0.00
              d. Auto                                                                                                  $                    135.00
                e. Other                                                                                               $                        0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify) Personal property                                                                                           $                     20.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
               a. Auto                                                                                                 $                    398.00
                b. Other                                                                                               $                        0.00
 14. Alimony, maintenance, and support paid to others                                                                  $                        0.00
 15. Payments for support of additional dependents not living at your home                                             $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                      $                        0.00
 17. Other                                                                                                             $                        0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                   $                  5,614.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
        a. Average monthly income from Line 15 of Schedule I                                                            $                 5,141.41
        b. Average monthly expenses from Line 18 above                                                                  $                 5,614.00
        c. Monthly net income (a. minus b.)                                                                             $                  -472.59
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                      United States Bankruptcy Court
                                                         Eastern District of Arkansas


In re Mark C. Madison                                                           ,                  Case No.
                                                          Debtor
                                                                                                   Chapter      7

                                                SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims
from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of
Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.




     NAME OF SCHEDULE                  ATTACHED       NO. OF SHEETS                 ASSETS                    LIABILITIES                 OTHER
                                        (YES/NO)

 A - Real Property                        YES                      1      $           400,000.00

 B - Personal Property                    YES                      2      $            16,400.00

 C - Property Claimed
     as Exempt                            YES                      1

 D - Creditors Holding                    YES                      2                                 $              673,819.37
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                      YES                      2                                 $                7,871.51
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured          YES                      5                                 $           1,253,945.12
     Nonpriority Claims

 G - Executory Contracts and              YES                      1
     Unexpired Leases

 H - Codebtors                            YES                      1

 I - Current Income of                                                                                                             $           5,141.41
     Individual Debtor(s)                 YES                      1

 J - Current Expenditures of              YES                      1
     Individual Debtor(s)                                                                                                          $           5,614.00

                                                                17        $          416,400.00      $         1,935,636.00
                                 TOTAL
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Form 6 - Statistical Summary (12/07)

                                                     United States Bankruptcy Court
                                                      Eastern District of Arkansas

In re Mark C. Madison                                                                              Case No.
                                                                                ,
                                                          Debtor                                   Chapter    7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


           Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                        Amount
 Domestic Support Obligations (from Schedule E)                          $     0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                             $     7,871.51
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)          $     0.00
 Student Loan Obligations (from Schedule F)                              $     0.00
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                 $     0.00
 Obligations to Pension or Profit-Sharing, and Other Similar
 Obligations (from Schedule F)                                           $     0.00
                                                           TOTAL          $    7,871.51
State the following:

 Average Income (from Schedule I, Line 16)                               $     5,141.41
 Average Expenses (from Schedule J, Line 18)                             $     5,614.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                     $     6,508.84

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY”
 column                                                                                        $     28,707.37
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                 $     7,871.51
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY” column                                                                      $     0.00
 4. Total from Schedule F                                                                      $     1,253,945.12
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $     1,282,652.49
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Mark C. Madison                                                            ,                            Case No.
                                                         Debtor                                                                     (If known)


                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                            DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                  19
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 5/19/2011                                                            Signature: s/ Mark C. Madison
                                                                                       Mark C. Madison
                                                                                                                    Debtor
                                                                          [If joint case, both spouses must sign]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and
3571.
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B7 (Official Form 7) (4/10)


                                                   UNITED STATES BANKRUPTCY COURT
                                                        Eastern District of Arkansas

In re:   Mark C. Madison                                                                         Case No.
                                                                             ,
                                                       Debtor                                                       (If known)




                                           STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
         debtor's business, including part-time activities either as an employee or in independent trade or business, from the beginning
          of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
          immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
          fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal
          year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
          is not filed.)

          AMOUNT                             SOURCE                                          FISCAL YEAR PERIOD

          5,400.00                           Self-employment - Madison Financial             2009
                                             Services

          65,699.00                          Employment - Hyundai Motor America,             2010
                                             Crain Automotive, and Arkansas
                                             Automotive Services

          28,157.00                          Employment - Crain Automotive                   2011


          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
         business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                              SOURCE                                                                 FISCAL YEAR PERIOD
          11,285.00                           Capital gain from sale of bookcase, lamps, computer, and               2009
                                              2005 GMC Yukon, XL

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
         services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF                                  DATES OF                               AMOUNT                AMOUNT
           CREDITOR                                             PAYMENTS                               PAID                  STILL OWING

          Nissan Motor Acceptance Corporation                   Regular monthly payments                                      15,689.00
          P.O. Box 60117
          City of Industry, CA 91716-0117
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                                                                                                                        2


None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
 
      days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
       plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                    DATES OF                                AMOUNT                 AMOUNT
                                                        PAYMENTS/                               PAID OR                STILL
                                                        TRANSFERS                               VALUE OF               OWING
                                                                                                TRANSFERS




     *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.


None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by
  
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        NAME AND ADDRESS OF CREDITOR                    DATE OF                                 AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                      PAYMENT                                 PAID                  STILL OWING




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the
       filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)

        CAPTION OF SUIT                                                        COURT OR AGENCY                       STATUS OR
        AND CASE NUMBER                     NATURE OF PROCEEDING               AND LOCATION                          DISPOSITION
        Chenal Country Club, Inc. v.        Civil suit                         Pulaski County Circuit Court          Judgment for
        Mark C. Madison                                                        401 West Markham Street               Plaintiff
          60CV-10-2832                                                         Little Rock, AR 72201


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
  
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)

        NAME AND ADDRESS                                                                  DESCRIPTION
        OF PERSON FOR WHOSE                                   DATE OF                     AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                           SEIZURE                     PROPERTY
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                                                                                                                          3

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
 
      foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                            DATE OF REPOSSESSION,            DESCRIPTION
       NAME AND ADDRESS                                     FORECLOSURE SALE,                AND VALUE OF
       OF CREDITOR OR SELLER                                TRANSFER OR RETURN               PROPERTY



       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
 
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                           TERMS OF
       NAME AND ADDRESS                                      DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                           ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
 
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                 NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                          OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                              CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
 
      contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                          RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                 TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                           IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
 
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                           DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                                 LOSS
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                                                                                                                         4

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
      one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
       Cricket Debt Counseling                              5/11                           36.00

       Lickert Law Firm, P.A.                               5/11                           1,200.00
       5321 JFK Blvd., Ste. A
       North Little Rock, AR 72116


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
      debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                   DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                             TRANSFERRED
       RELATIONSHIP TO DEBTOR                                 DATE                                 AND VALUE RECEIVED
       C&C Motors
                                                              8/19/09                              2005 GMC Yukon XL;
       4600 MacArthur Drive
                                                                                                   $11,850.20
       North Little Rock, AR 72118
          None
       Charles Woodson
                                                              1/10                                 Lot in Hot Springs Village;
       Unknown
                                                                                                   $2,500
         None
       John Lessel
                                                              4/15/09                              Computer; $200
       11601 Pleasant Ridge Road, #301
       Little Rock, AR 72212
           None
       Scott Daniel
                                                              8/1/09                               Bookcase and lamps; $600
       11601 Pleasant Ridge Road, #101
       Little Rock, AR 72212
           None


None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
 
      self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                               DATE(S) OF                     AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                               TRANSFER(S)                    AND VALUE OF PROPERTY OR DEBTOR'
                                                                                           INTEREST IN PROPERTY
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                                                                                                                          5

       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
 
      sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                          TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                   DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                     AND AMOUNT OF FINAL BALANCE                  OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
 
      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                          NAMES AND ADDRESSES                  DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                                OF THOSE WITH ACCESS                 OF                            OR SURRENDER,
       OTHER DEPOSITORY                          TO BOX OR DEPOSITORY                 CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
 
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                        DATE OF                     AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                     SETOFF                      SETOFF

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
 
      NAME AND ADDRESS                                        DESCRIPTION AND VALUE
       OF OWNER                                                OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
 
      debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                              DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
 
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME
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                                                                                                                          6

       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.    List the name and address of every site for which the debtor has received notice in writing by a governmental unit that
 
      it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of
       the notice, and, if known, the Environmental Law.



       SITE NAME AND                               NAME AND ADDRESS                   DATE OF                   ENVIRONMENTAL
       ADDRESS                                     OF GOVERNMENTAL UNIT               NOTICE                    LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
 
      Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.




       SITE NAME AND                         NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                               OF GOVERNMENTAL UNIT                 NOTICE                 LAW



None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
 
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                            DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                         DISPOSITION
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                                                                                                                           7

       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.


       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY
       NAME                                           ADDRESS                            NATURE OF              BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                         BUSINESS               DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN
       GSVSB Exploration,        Unknown                   11601 Pleasant Ridge           Oil and gas           8/16/06
       LLC                                                 Road, #202                     partnership
                                                                                                                7/09
                                                           Little Rock, AR 72212
       Madison Financial         SS#                       11601 Pleasant Ridge           Investment            11/2002
       Services                                            Road, Suite 20                 services
                                                                                                                7/2009
                                                           Little Rock, AR 72212

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
 
      U.S.C. § 101.


       NAME                                                                       ADDRESS
       19. Books, records and financial statements
None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
      supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                           DATES SERVICES RENDERED

       Yoly Redden, CPA                                                           2002-2009
       Brown, Rogers & Co., PA
       #1 Executive Center Court
       Little Rock, AR 72211
None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the
      books of account and records, or prepared a financial statement of the debtor.


       NAME                        ADDRESS                                        DATES SERVICES RENDERED
       None

None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
      and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                                             ADDRESS

       Department of Justice
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                                                                                                                              8

None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
      financial statement was issued by the debtor within two years immediately preceding the commencement of this case.


       NAME AND ADDRESS                                                   DATE ISSUED

       None

       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                           DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                               (Specify cost, market or other
                                                                                           basis)

       N/A


None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                                          NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                  OF INVENTORY RECORDS

       N/A

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                                          NATURE OF INTEREST                     PERCENTAGE OF INTEREST

       N/A

None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly
      owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                        NATURE AND PERCENTAGE
       NAME AND ADDRESS                                          TITLE                                  OF STOCK OWNERSHIP

       N/A

       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
 
      preceding the commencement of this case.

       NAME                                       ADDRESS                                                   DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
 
      within one year immediately preceding the commencement of this case.

                                                                 TITLE                                  DATE OF TERMINATION
       NAME AND ADDRESS
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                                                                                                                           9

        23. Withdrawals from a partnership or distributions by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
        compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
 
       immediately preceding the commencement of this case.


        NAME & ADDRESS                                                                               AMOUNT OF MONEY
        OF RECIPIENT,                                          DATE AND PURPOSE                      OR DESCRIPTION
        RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                         AND VALUE OF PROPERTY




        24. Tax Consolidation Group.
None    If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
 
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
        preceding the commencement of the case.

        NAME OF PARENT CORPORATION                              TAXPAYER IDENTIFICATION NUMBER (EIN)

        25. Pension Funds.
None    If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
 
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
        commencement of the case.

        NAME OF PENSION FUND                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                  * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

     Date 5/19/2011                                           Signature    s/ Mark C. Madison
                                                              of Debtor    Mark C. Madison
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B 8 (Official Form 8) (12/08)

                                    UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Arkansas

In re                              Mark C. Madison                        ,           Case No.
                                      Debtor                                                           Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)


   Property No. 1

   Creditor's Name:                                                Describe Property Securing Debt:
   Nissan Motor Acceptance Corporation                             2010 Nissan Sentra - 15,500 miles


   Property will be (check one):
       Surrendered                       
                                           Retained

   If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
         
          Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))

   Property is (check one):
        Claimed as exempt                                        
                                                                   Not claimed as exempt


   Property No. 2

   Creditor's Name:                                                Describe Property Securing Debt:
   Select Portfolio Servicing, Inc.                                3,936 square foot home located at 5 Noyal Drive,
                                                                   Little Rock, AR

   Property will be (check one):
       Surrendered                       
                                           Retained

   If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Reaffirm or retain w/ loan mod (for example, avoid lien using 11 U.S.C. § 522(f))
         

   Property is (check one):
        Claimed as exempt                                        
                                                                   Not claimed as exempt


PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)
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B 8 (Official Form 8) (12/08)                                                                              Page 2



   Property No. 1

   Lessor's Name:                           Describe Leased Property:             Lease will be Assumed pursuant
                                                                                  to 11 U.S.C. § 365(p)(2):
   None
                                                                                   YES          NO


   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 5/19/2011                                             s/ Mark C. Madison
                                                            Mark C. Madison
                                                            Signature of Debtor
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B22A (Official Form 22A) (Chapter 7) (12/10)

                                                                              According to the information required to be entered on this
                                                                              statement (check one box as directed in Part I, III, or VI of this
In re   Mark C. Madison                                                       statement):
                    Debtor(s)                                                  
                                                                                The presumption arises
Case Number:                                                                   
                                                                                  The presumption does not arise
                    (If known)                                                    The presumption is temporarily inapplicable.


                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                           AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).


                                       Part I. MILITARY AND NON-CONSUMER DEBTORS

         Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
         beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
           Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran
         (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
         defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
         Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
  1B     verification in Part VIII. Do not complete any of the remaining parts of this statement.

           Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
          

         Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve
         component of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10
         U.S.C. § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense
         activity (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing
         during the time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you
         qualify for this temporary exclusion, (1) check the appropriate boxes and complete any required information in the
         Declaration of Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily
         inapplicable” at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
         are not required to complete the balance of this form, but you must complete the form no later than 14 days after
         the date on which your exclusion period ends, unless the time for filing a motion raising the means test
         presumption expires in your case before your exclusion period ends.

  1C      
           Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
         below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
         component of the Armed Forces or the National Guard


                       a.   
                             I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                 
                                  I remain on active duty /or/
                                 
                                  I was released from active duty on ________________, which is less than 540 days before this
                                       bankruptcy case was filed;
                                    OR
                       b.   
                                I am performing homeland defense activity for a period of at least 90 days /or/
                            
                             I performed homeland defense activity for a period of at least 90 days, terminating on
                                 _______________, which is less than 540 days before this bankruptcy case was filed.


                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
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       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. 
           Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
           Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
       b. 
                 penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                 and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
  2              Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.  Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                 both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.  Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                 Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived during the         Column A       Column B
       six calendar months prior to filing the bankruptcy case, ending on the last day of the month          Debtor's       Spouse's
       before the filing. If the amount of monthly income varied during the six months, you must              Income         Income
       divide the six-month total by six, and enter the result on the appropriate line.

  3    Gross wages, salary, tips, bonuses, overtime, commissions.                                        $ 6,508.84     $
       Income from the operation of a business, profession or farm. Subtract Line b from
  4    Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on an
       attachment. Do not enter a number less than zero. Do not include any part of the business
       expenses entered on Line b as a deduction in Part V.
         a.    Gross Receipts                                              $ 0.00
         b.    Ordinary and necessary business expenses                    $ 0.00
         c.    Business income                                             Subtract Line b from Line a   $ 0.00         $
       Rent and other real property income. Subtract Line b from Line a and enter the difference in
       the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
       any part of the operating expenses entered on Line b as a deduction in Part V.

  5      a.    Gross Receipts                                              $ 0.00
         b.    Ordinary and necessary operating expenses                   $ 0.00
                                                                                                         $ 0.00         $
         c.    Rent and other real property income                         Subtract Line b from Line a

  6    Interest, dividends, and royalties.                                                               $ 0.00         $

  7    Pension and retirement income.                                                                    $ 0.00         $

  8    Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor’s dependents, including child support paid for               $ 0.00         $
       that purpose. Do not include alimony or separate maintenance payments or amounts paid by
       your spouse if Column B is completed. Each regular payment should be reported in only one
       column; if a payment is listed in Column A, do not report that payment in Column B.

       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act        Debtor $           Spouse $                   $              $

       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
  10   alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or as a
       victim of international or domestic terrorism.
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         a.                                                                        $
       Total and enter on Line 10.                                                                                       $ 0.00        $

       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
  11                                                                                                                     $ 6,508.84    $
       if Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).

       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
       11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,                        $ 6,508.84
  12
       enter the amount from Line 11, Column A.

                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION

       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
  13   enter the result.                                                                                                               $ 78,106.08

       Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14   information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                       $ 54,401.00
       a. Enter debtor’s state of residence: AR                                b. Enter debtor’s household size: 4

       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15      The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
         
              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
         
          The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                           Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).




                      Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16   Enter the amount from Line 12.                                                                                                  $6,508.84

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
  17
        Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
        debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
        payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
        dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
        a separate page. If you did not check box at Line 2.c, enter zero.

           a.                                                                                 $

         Total and enter on Line 17 .                                                                                                  $ 0.00

  18   Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                     $ 6,508.84

                                   Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
19A     National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
        number of persons is the number that would currently be allowed as exemptions on your federal income tax
        return, plus the number of any additional dependents whom you support.
                                                                                                                                       $ 1,377.00
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       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Outof-
19B    Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Outof-
       Pocket Health Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/
       or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under
       65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or older.
       (The applicable number of persons in each age category is the number in that category that would currently
       be allowed as exemptions on your federal income tax return, plus the number of any additional dependents
       whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the
       result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the
       result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

         Persons under 65 years of age                            Persons 65 years of age or older
         a1. Allowance per person                   60.00         a2.   Allowance per person             144.00
         b1. Number of persons                       4.00         b2.   Number of persons

         c1.   Subtotal                                           c2.   Subtotal
                                                    240.00                                                                $ 240.00

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
        and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
20A     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists
        of the number that would currently be allowed as exemptions on your federal income tax return, plus the
        number of any additional dependents whom you support.                                                             $ 544.00

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
20B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court)(the applicable
        family size consists of the number that would currently be allowed as exemptions on your federal income tax
        return, plus the number of any additional dependents whom you support); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

         a.      IRS Housing and Utilities Standards; mortgage/rent al     $ 889.00
                 expense
         b.      Average Monthly Payment for any debts secured by home, if $
                 any, as stated in Line 42.
                                                                             2,411.00
         c.       Net mortgage/rental expense                              Subtract Line b from Line a                    $ 0.00

       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
       your contention in the space below:
                                                                                                                          $



       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.    0 
                                                                                      1      2 or more.
22A
       If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS             $ 244.00
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)

        Local Standards: transportation; additional public transportation expense. If you pay the operating
22B     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
        additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
        the clerk of the bankruptcy court.)                                                                               $ 0.00
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       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
       two vehicles.)
        
             1   
                      2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
23     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs              $ 496.00
         b.       Average Monthly Payment for any debts secured by Vehicle
                  1, as stated in Line 42.                                   $ 331.67
         c.       Net ownership/lease expense for Vehicle 1                  Subtract Line b from Line a                $ 164.33


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
24      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
        Line a and enter the result in Line 24. Do not enter an amount less than zero.
         a.       IRS Transportation Standards, Ownership Costs              $ 0.00
         b.       Average Monthly Payment for any debts secured by Vehicle   $
                  2, as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 2                  Subtract Line b from Line a                $ 0.00

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                  $ 1,032.79

       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
26     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                     $ 0.00
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
27     whole life or for any other form of insurance.                                                                   $ 40.66

       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
28     payments. Do not include payments on past due obligations included in Line 44.                                   $ 0.00

       Other Necessary Expenses: education for employment or for a physically or mentally challenged
       child. Enter the total average monthly amount that you actually expend for education that is a condition of
29     employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                        $
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.                                                                                                        $
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
31     on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
       Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.             $ 60.00
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
32     you actually pay for telecommunication services other than your basic home telephone and cell phone
       service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
       necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                        $
       deducted.
33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                              $ 3,702.78
                                          Subpart B: Additional Living Expense Deductions
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                                 Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
         expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
         or your dependents.
           a.     Health Insurance                                    $ 284.18
 34
           b.     Disability Insurance                                $ 29.81
           c.     Health Savings Account                              $

                                                                                                                                     $ 313.99
         Total and enter on Line 34
         If you do not actually expend this total amount, state your actual total average monthly expenditures in
         the space below:
         $

         Continued contributions to the care of household or family members. Enter the total average actual
         monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35      elderly, chronically ill, or disabled member of your household or member of your immediate family who is                    $
         unable to pay for such expenses.
         Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 36      you actually incurred to maintain the safety of your family under the Family Violence Prevention and                        $
         Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
         by the court.
         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
         Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
 37                                                                                                                                  $
         provide your case trustee with documentation of your actual expenses, and you must demonstrate
         that the additional amount claimed is reasonable and necessary.
         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case
         trustee with documentation of your actual expenses, and you must explain why the amount claimed is                          $
         reasonable and necessary and not already accounted for in the IRS Standards.
         Additional food and clothing expense. Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
 39      National Standards, not to exceed 5% of those combined allowances. (This information is available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
         amount claimed is reasonable and necessary.                                                                                 $

         Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
 40      financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                 $ 0.00


 41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                 $ 313.99

                                                 Subpart C: Deductions for Debt Payment

         Future payments on secured claims. For each of your debts that is secured by an interest in property that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
 42      the total of the Average Monthly Payments on Line 42.
                      Name of           Property Securing the Debt          Average                      Does payment
                      Creditor                                              Monthly                      include taxes
                                                                            Payment                      or insurance?
           a.    Select Portfolio       Home located at 5 Noyal        $ 2,411.00                 
                                                                                                      yes   no
                 Servicing, Inc.        Drive
           b.    Nissan Motor           2010 Nissan Sentra             $ 331.66                    yes 
                                                                                                        no
                 Acceptance


* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                             Total: Add Lines a, b and c                  $ 2,742.66
         Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
         amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 43      List and total any such amounts in the following chart. If necessary, list additional entries on a separate
         page.
                        Name of Creditor                 Property Securing the Debt           1/60th of the Cure Amount
           a. Select Portfolio Servicing, Inc. Home located at 5 Noyal Drive                 $ 1,404.38
                                                                                                      Total: Add Lines a, b and c         $ 1,404.38
         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy                      $ 368.34
         filing. Do not include current obligations, such as those set out in Line 28.

         Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
         following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
         expense.
           a.    Projected average monthly Chapter 13 plan payment.                      $ 3,000.00
           b.    Current multiplier for your district as determined under schedules
 45                issued by the Executive Office for United States Trustees. (This
                   information is available at www.usdoj.gov/ust/ or from the clerk of the
                   bankruptcy court.)                                                            x 6.30
           c.      Average monthly administrative expense of Chapter 13 case
                                                                                                  Total: Multiply Lines a and b           $ 189.00

 46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                      $ 4,704.38

                                                    Subpart D: Total Deductions from Income

 47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                      $ 8,721.15



                                     Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                           $ 6,508.84
 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                $ 8,721.15
 50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                                  $ -2,212.31

         60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
 51      result.                                                                                                                          $ -132,738.60

         Initial presumption determination. Check the applicable box and proceed as directed.

           
            The amount on Line 51 is less than $7,025* Check the box for “The presumption does not arise” at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of page 1 of
           
                this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

           The amount on Line 51 is at least $7,025*, but not more than $11,725*.
                                                                                                         Complete the remainder of Part VI (Lines 53
                through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                       $
 54      Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                           $ 0.00

         Secondary presumption determination. Check the applicable box and proceed as directed.

           The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top
          
 55             of page 1 of this statement, and complete the verification in Part VIII.


* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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         The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
        
              the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                              Part VII. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly
       income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
       average monthly expense for each item. Total the expenses.
56
                                             Expense Description                                              Monthly Amount
         a.                                                                                       $
                                                                  Total: Add Lines a, b, and c    $ 0.00

                                                          Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)
  57             Date: 5/19/2011                              Signature: s/ Mark C. Madison
                                                                           Mark C. Madison, (Debtor)
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B 203
(12/94)

                                                     UNITED STATES BANKRUPTCY COURT
                                                           Eastern District of Arkansas
In re:         Mark C. Madison                                                                                    Case No.
                                                                                                                  Chapter         7
                                                 Debtor

                               DISCLOSURE OF COMPENSATION OF ATTORNEY
                                              FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                         $        1,200.00
          Prior to the filing of this statement I have received                                                               $        1,200.00
          Balance Due                                                                                                         $            0.00
2. The source of compensation paid to me was:

             Debtor                                       Other (specify)
3. The source of compensation to be paid to me is:

             Debtor                                       Other (specify)
4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

           I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
            my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
    including:

     a)     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
            a petition in bankruptcy;

     b)     Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)     [Other provisions as needed]
            None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             Representation of the debtors in any adversary proceedings and contested matters, including, but not limited to,
             dischargeability and relief from stay actions; and judicial lien avoidance filings.

                                                                    CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
 representation of the debtor(s) in this bankruptcy proceeding.

 Dated: 5/19/2011

                                                                     /S/ Doug Lickert
                                                                     Doug Lickert, Bar No. 2003013

                                                                     Lickert Law Firm, P.A.
                                                                     Attorney for Debtor(s)
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B 201A (Form 201A) (12/09)

     WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
        Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.

                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF ARKANSAS


                          NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs
of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies
you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.

          Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on
the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee
or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and
credit counseling agencies. Each debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
    Chapter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $274)

           Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a
motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the
case should be dismissed.
           Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
           The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and,
if it does, the purpose for which you filed the bankruptcy petition will be defeated.
           Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which
are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle,
vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
discharged.
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    Form B 201A, Notice to Consumer Debtor(s)                                                                              Page 2

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($150 filing fee, $39
administrative fee: Total fee $189)

             Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
             Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
    are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

              Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
    earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
    primarily from a family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
    perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
    information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
    acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
    employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
    creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
    information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
    local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure .

    Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
    require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13
    plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
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B 201B (Form 201B) (12/09)


                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF ARKANSAS



In re Mark C. Madison                                                                   Case No.
                                  Debtor
                                                                                        Chapter         7


                        CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                            UNDER § 342(b) OF THE BANKRUPTCY CODE



                                                       Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice, as required by § 342(b) of the Bankruptcy Code.
Mark C. Madison                                                   X s/ Mark C. Madison                                  5/19/2011
Printed Name of Debtor                                              Mark C. Madison
                                                                    Signature of Debtor                                     Date
Case No. (if known)




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
